[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]                         MEMORANDUM OF DECISION
The defendant Tanks  Pipeworks, Inc. (TPI) leased 12,000 square feet of commercial-industrial space from the plaintiff on August 4, 1994 for a period of two years, from August 1, 1994 to July 31, 1996. The premises are located at 69 Raytwich Drive, Naugatuck, Ct.
On or about August, 11, 1995, the defendant Home Town Work Systems, Inc. (the defendant) purchased the accounts and some of the equipment of TPI and took possession of the leasehold premises. From this location, the defendant ran its business of cleaning septic systems. Although there is no evidence that TPI assigned its lease to the defendant, the defendant was aware that there was a lease between TPI and the plaintiff. The plaintiff did not enter into any express agreement with the defendant for the lease of the space. In August, September, October and November, 1995, the defendant sent checks of $1,000 each to the plaintiff for use of the space. The plaintiff did not negotiate these checks but forwarded them to its attorney. The defendant vacated the premises in November, 1996. Throughout the defendant's occupation, the plaintiff's lease with TPI was extant. Recovery by the plaintiff from the defendant is precluded by Chapel-High Corporation v. Cavallaro, 141 Conn. 407,106 A.2d 720 (1954).
Judgment may enter for the defendant.
BY THE COURT
Bruce L. Levin Judge of the Superior Court CT Page 9097